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8                                   UNITED STATES DISTRICT COURT
9                                  NORTHERN DISTRICT OF CALIFORNIA

10
     OLIVER CRISTOBAL,                               Case No.: 3:16-cv-06328-RS
11
                      Plaintiff,
12
          v.                                         STIPULATION FOR DISMISSAL OF
13                                                   DEFENDANT EQUIFAX, INC.;
                                                     [PROPOSED] ORDER
14
     EXPERIAN INFORMATION SOLUTIONS,
15
     INC., et al,

16                    Defendants.

17

18

19             TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20             IT IS HEREBY STIPULATED by and between plaintiff Oliver Cristobal and defendant
21   Equifax, Inc. that Equifax, Inc. be dismissed from this action with prejudice pursuant to
22   Federal Rules of Civil Procedure, Rule 41(a)(2), and that each party shall bear its own
23   attorneys’ fees and costs.
24   //
25   //
26   //
27   //
28   //


               STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -1-
                Case 3:16-cv-06328-RS Document 53 Filed 05/03/17 Page 2 of 2



     DATED: May 3, 2017                            Sagaria Law, P.C.
1
                                                   By:     /s/ Elliot Gale
2                                                          Elliot Gale
3
                                                           Attorney for Plaintiff Oliver Cristobal

4

5
     DATED: May 3, 2017                            Nokes & Quinn, APC
6
                                                   By:     /s/ Thomas P. Quinn, Jr.
7                                                          Thomas P. Quinn, Jr.
                                                           Attorney for Defendant Equifax, Inc.
8

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10
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this

11
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.

12

13
     /s/ Elliot Gale

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16
                                          [PROPOSED] ORDER

17
            Pursuant to the stipulation of the Parties, Equifax, Inc. is dismissed with prejudice.

18
            IT IS SO ORDERED.

19

20

21
     DATED:            5/3/17
22
                                                           Hon. Richard Seeborg
23                                                         UNITED STATES DISTRICT JUDGE
24

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            STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -2-
